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                                                                                                    Tuesday, 15 January, 2019 08:58:00 AM
                                                                                                              Clerk, U.S. District Court, ILCD



                                              Federal Public Defender
                                             Central District of Illinois

                                                             August 24, 2018

Eugene Miller
Bryan Freres
U.S. Attorney’s Office
201 S. Vine Street, 2nd Floor
Urbana, IL 61801
                                                                             Via E-Mail Transmittal
James B. Nelson
Trial Attorney, Capital Case Section
1331 F. Street NW, Room 625
Washington, DC 20004

                   Re:     United States v. Christensen - Expert Notification

Dear Mr. Miller, Mr. Freres and Mr. Nelson:

        Pursuant to the existing Scheduling Order, R. 67, enclosed please find the defense
disclosure of non-Rule 12.2 expert witnesses that we intend to call at trial in this case. Please be
aware that as of this date, we have not yet identified and/or retained all of the individual
witnesses who will testify in the following categories. As a result, we endeavor to provide at a
minimum the subject matter area in which we intend to present evidence. We recognize our
obligations under Fed.R.Cr.P. 16(b)(1)(C) to disclose all written summaries of any testimony
that we intend to offer as soon as it becomes available. With that said, the defense intends to
elicit expert testimony, not including mental health evidence subject to Rule 12.2, on the
following subjects:

          1. BDSM and sexual behavior in modern society, including but not limited to its
             prevalence, acceptance, and frequency among Americans. The specific expert on this
             topic has not yet been identified.

          2. Computer Forensics, to rebut the government expert’s testimony if necessary, and to
             provide a description of additional forensic extractions that the government does
             not present during its case-in-chief. The specific expert on this topic has not yet been
             identified, although he/she will be associated with and/or employed by Cyber
             Forensics, Inc., 7450 Griffin Road, Suite 260, Davie, FL, 33314.

                                                                   ATTACHMENT A
FEDERAL                                ASSISTANT DEFENDERS                            OFFICES                    600 E. Adams St., 3rd Fl.
PUBLIC DEFENDER          Robert Alvarado                 Karl Bryning                                            Springfield, IL 62701
Thomas W. Patton         Johanna Christiansen            Peter Henderson              401 Main St., Ste 1500     (217) 492-5070
                         Daniel Hillis                   Johanes Maliza               Peoria, IL 61602           (217) 492-5077 (fax)
SENIOR LITIGATOR         Brian Mullins                   Elisabeth Pollock            (309) 671-7891
George Taseff            Douglas J. Quivey               Colleen Ramais               (309) 671-7898 (fax)       300 W. Main Street
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                                                          Website http //ilc.fd.org                              (217) 373-0667 (fax)
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      3. DNA, to rebut the government’s expert testimony if necessary, and to challenge the
         reliability of the DNA and serology results from the FBI Laboratory in Quantico,
         Virginia. The specific expert on this topic has not yet been identified, although
         he/she will be associated with and/or employed by Forensic Bioinformatics, 2850
         Presidential Drive, Suite 160, Fairborn, OH, 45324.

      4. Eyewitness identification, to rebut the testimony of Kara Kearney and Emily Hogan,
         and to challenge the reliability of eyewitness identification. The defense expert in
         this subject matter will be Dr. Geoffrey Loftus, Department of Psychology,
         University of Washington, Guthrie Hall, Room 222, Seattle, WA, 98195-1525. His
         curriculum vitae is attached hereto.

      5. Canine cadaver searches, to rebut the testimony of Detective Jeremy Bruketta and to
         challenge the reliability of canine cadaver identification. The defense expert in this
         subject matter will be Dr. Mary Cablk, Desert Research Institute, Division of Earth
         and Ecosystem Sciences, 2215 Raggio Parkway, Reno, NV, 89512. Her curriculum
         vitae is attached hereto.

       As stated above, as soon as any written reports are made available to the defense, they
will be disclosed pursuant to our obligations under Rule 16 and the existing Scheduling Order.

                    Sincerely yours,

                    /s/Elisabeth R. Pollock                  /s/ George Taseff
                    Assistant Federal Defender               Assistant Federal Defender
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